     Case 2:20-cv-01374-APG-DJA Document 10 Filed 11/05/20 Page 1 of 4



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 6   Attorneys for Plaintiff ZURICH AMERICAN
     INSURANCE COMPANY
 7

 8                                UNITED STATES DISTRICT COURT
 9                                       DISTRICT OF NEVADA
10   ZURICH AMERICAN INSURANCE                      )       CASE NO.:   2:20-cv-01374-APG-DJA
     COMPANY,                                       )
11                                                  )
                     Plaintiff,                     )       STIPULATION TO EXTEND TIME TO
12                                                  )       RESPOND TO MOTION TO STRIKE AND
            vs.                                     )       TO REPLY
13                                                  )
     ASPEN SPECIALTY INSURANCE                      )
14   COMPANY,                                       )
                                                    )
15                   Defendant.                     )
                                                    )
16

17          COME NOW Plaintiff Zurich American Insurance Company (“Zurich”) and Defendant
18   Aspen Specialty Insurance Company (“Aspen”) and hereby submit the following Stipulation and
19   Order to Extend Time to Respond To Motion To Strike and to Reply thereto.
20          WHEREAS Zurich agreed to extend Aspen’s time to respond to Zurich’s complaint in this
21   matter to October 27, 2020; and
22          WHEREAS on October 26, 2020, Aspen filed and served its Motion to Dismiss Zurich’s
23   complaint (Dkt# 7); and
24          WHEREAS Zurich’s response to Aspen’s Motion to Dismiss is due on before November
25   10, 2020; and
26          WHEREAS Aspen’s counsel has agreed as a professional courtesy to stipulate to extend
27   Zurich’s time to respond by 21 days to allow sufficient time for Zurich to respond to the issues
28   raised by Aspen’s Motion to Dismiss; and

                                                        1
     STIPLUATION TO EXTEND FILING DEADLINES                             CASE NO.: 2:20-cv-01374-APG-DJA
     Case 2:20-cv-01374-APG-DJA Document 10 Filed 11/05/20 Page 2 of 4



 1            WHEREAS Zurich’s counsel has agreed as a professional courtesy to stipulate to extend

 2   Aspen’s time to file a reply to Zurich’s response by 21 days;

 3            IT IS HEREBY STIPULATED AND AGREED that Zurich’s time to respond to Aspen’s
 4   Motion to Dismiss is extended to December 1, 2020, and Aspen’s time to file a Reply is extended
 5   to December 29, 2020.
 6            Respectfully submitted this 5th day of November 2020.
 7

 8   MESSNER REEVES, LLP                                         MORALES FIERRO & REEVES
 9
     By       /s/ Ryan L. Loosvelt                               By    /s/ Ramiro Morales
10        MICHAEL M. EDWARDS                                           RAMIRO MORALES
          Nevada Bar No. 6281                                          Nevada Bar No. 7101
11        RYAN A. LOOSVELT                                             MARC J. DEREWETZKY
          Nevada Bar No. 8550                                          Nevada Bar No. 6619
12        8945 W. Russell Road, Suite 300                              600 S. Tonopah Dr., Suite 300
          Las Vegas, NV 89148                                          Las Vegas, NV 89106
13
          Attorneys for Defendant                                      Attorneys for Plaintiff Zurich
14        Aspen Specialty Insurance Company                            American Insurance Company

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                                                      2
     STIPLUATION TO EXTEND FILING DEADLINES                           CASE NO.: 2:20-cv-01374-APG-DJA
     Case 2:20-cv-01374-APG-DJA Document 10 Filed 11/05/20 Page 3 of 4



 1                                         CERTIFICATE OF SERVICE
 2         I, the undersigned, am over the age of eighteen and am an employee at Morales, Fierro &
     Reeves, and hereby certify that the following document(s) were served a follows:
 3

 4        STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO RESPOND TO
                          MOTION TO STRIKE AND TO REPLY
 5

 6   XX     Submitted electronically for filing and service with the U.S.D.C., District of Nevada
            CM/ECF system on the below date.
 7
            Service was effectuated on the following party/person(s):
 8
        MICHAEL M. EDWARDS
 9      Nevada Bar No. 6281
        RYAN A. LOOSVELT
10      Nevada Bar No. 8550
        8945 W. Russell Road, Suite 300
11      Las Vegas, NV 89148
12      Attorneys for Defendant
        Aspen Specialty Insurance Company
13

14            I declare under penalty of perjury under the laws of the State of Nevada that the foregoing
     is true and correct. Dated this 5th day of November 2020.
15

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     CERTIFICATE OF SERVICE                                             CASE NO.: 2:20-cv-01374-APG-DJA
     Case 2:20-cv-01374-APG-DJA Document 10 Filed 11/05/20 Page 4 of 4



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 8                                 UNITED STATES DISTRICT COURT
 9                                        DISTRICT OF NEVADA
10   ZURICH AMERICAN INSURANCE                       )       CASE NO.:   2:20-cv-01374-APG-DJA
     COMPANY,                                        )
11                                                   )
                    Plaintiff,                       )       [PROPOSED] ORDER ON STIPULATION
12                                                   )       TO EXTEND TIME TO RESPOND TO
            vs.                                      )       MOTION TO STRIKE AND TO REPLY
13                                                   )
     ASPEN SPECIALTY INSURANCE                       )
14   COMPANY,                                        )
                                                     )
15                  Defendant.                       )
                                                     )
16

17                                                 ORDER
18          The parties hereto, by and through their respective counsel of record, having submitted a
19   stipulation to extend the time for Plaintiff Zurich American Insurance Company (“Zurich”) to
20   respond to Defendant Aspen Specialty Insurance Company’s (“Aspen”) motion to dismiss the
21   complaint in this action, and the time for Aspen to submit a reply in support of its motion, IT IS
22   HEREBY ORDERED that the time for Zurich to respond to Aspen’s motion is extended to
23   December 1, 2020, and the time for Aspen to reply in support of its motion is extended to
24   December 29, 2020.
25   IT IS SO ORDERED.
26
     DATED: November 5, 2020
27

28                                                           UNITED STATES DISTRICT JUDGE

                                                         1
     [PROPOSED ORDER]                                                    CASE NO.: 2:20-cv-01374-APG-DJA
